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                              EXHIBIT 5
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                               Expert Report of James E. Yurgealitis
                                       September 14, 2022
                               Viramontes v. Cook County, Illinois


I. SUMMARY:
This report contains findings, statistics and expert opinions regarding the plaintiff’s
allegations against Cook County, Illinois, as stated in Case # 1:21-cv-04595.


II. BACKGROUND AND QUALIFICATIONS:

I am currently self employed as a consultant and technical advisor in the field of Firearms,
Forensics and their practical application in criminal cases as well as their impact and application
to local State, Federal Law & Public Policy. I have been so employed since January 2013. Prior to
that date I have spent the majority of my career as a Federal Law Enforcement Officer with both
the United States Department of State, Bureau of Diplomatic Security (DSS) and The United States
Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF). I had been
so employed as such since 1986. My resume and statement of qualifications, as submitted to the
State’s Attorney for Cook County in this matter, are included in this report as attachments “A” and
“B” respectively.


III. SERVICES REQUESTED AND CONTRACTED:

I have been retained by Cook County, Illinois, State’s Attorney, to render my expert opinion on
the firearms related issues raised by the plaintiff(s) in this case. I am being compensated for my
research, advice, preparation and testimony on their behalf at the rate of $300/hour.




IV. OPINIONS:

My opinion or opinions as stated in this report are the result of my training, knowledge, and
experience, technical and statistical research, review of the firearms regulations of Cook County




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Illinois, the State of Illinois well as the Plaintiff(s) pleadings in this case as submitted. All opinions
contained herein are made pursuant to a reasonable degree of professional certainty.

During the course of my work in this case as additional research, technical or statistical materials
become available or relevant they will be reviewed. As such I reserve the right to amend my report,
opinion or testimony to include consideration of those materials should their relevance warrant.

V. MATERIALS REVIEWED:

I have been provided with a copies of, and have reviewed, the following materials:

    1. Plaintiffs’ Complaint; Case Number 1:21-cv-04595
    2. Cook County Ordinance 13-O-32 (the Ordinance)


I have reviewed materials, periodicals, publications and documents in furtherance of my research,
and in formulation of, my opinion(s) in this case which is attached as Exhibit C.


VI. GENERAL FIREARMS TERMINOLOGY, TYPES AND OPERATION:


In discussing modern firearms it is important to understand how they are defined under statute,
how they function and the differences between types commonly found and available to the public.


As per the Illinois State Statutes a Firearm is legally defined as the following:


https://www.ilga.gov/legislation/ilcs/documents/043000650K1.1.htm


"Firearm" means any device, by whatever name known, which is designed to expel a projectile
or projectiles by the action of an explosion, expansion of gas or escape of gas; excluding
however:

    1. any pneumatic gun, spring gun, paint ball gun or B-B gun which either expels a single
       globular projectile not exceeding .18 inch in diameter and which has a maximum muzzle
       velocity of less than 700 feet per second or breakable paint balls containing washable
       marking colors;


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   2. any device used exclusively for signaling or safety and required or recommended by the
      United States Coast Guard or the Interstate Commerce Commission;

   3. any device used exclusively for the firing of stud cartridges, explosive rivets or similar
      industrial ammunition; and

   4. an antique firearm (other than a machine-gun) which, although designed as a weapon, the
      Department of State Police finds by reason of the date of its manufacture, value, design,
      and other characteristics is primarily a collector's item and is not likely to be used as a
      weapon.”

Under Federal Law, 18 U.S.C 921 (a)(3) a Firearm is defined as:
https://www.law.cornell.edu/uscode/text/18/921


           (A) Any weapon (including a starter gun) which will or is designed to or may readily
               be converted to expel a projectile by the action of an explosive; or
           (B) the frame or receiver of any such weapon; or
           (C) any firearm muffler or firearm silencer; or
           (D) any destructive device.

Such term does not include an antique firearm, as defined in Section 921 (a)(16), e.g., an antique
ignition system firearm (e.g., matchlock, flintlock, percussion cap, etc.); or a firearm made in or
before 1898, etc.

Modern firearms (as legally defined) operate utilizing the expanding gases generated by the
rapidly burning gunpowder contained in modern ammunition. Gunpowder (or smokeless
powder) is the propellant contained within metallic cartridges or shotshells utilized by modern
firearms. (Diagram of a modern metallic cartridge and shotshell as illustration #1)

Once chambered or loaded in a modern firearm, and the trigger is pulled, the primer at the base
of the cartridge or shotshell is struck by a firing. The primer contains a pressure sensitive
explosive compound which ignites when struck. The ignition of the primer, in turn, ignites the
main powder charge contained in the case of the cartridge or shotshell. The main powder charge
ignites and burns rapidly in what is essentially a contained explosion. This contained explosion
generates gases at enormous pressures. The generated gases push the projectile out of the mouth
of the cartridge, down the barrel of the firearm and out of the firearm through the muzzle.


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More simply defined under Federal and Illinois Law a Firearm is a weapon which utilizes the gas
pressure generated by the burning gunpowder (explosive) in an ammunition cartridge to propel a
projectile through the barrel and out of the firearm through the muzzle.

All modern Breech loading firearms, no matter the type, operate according to a nine step process
known as the “Cycle of Fire”. The Association of Firearm and Toolmark Examiners (AFTE) is a
professional organization for Forensic Firearm and Toolmark Examiners which, in conjunction
with the U. S. Department of Justice (USDOJ), National Institute of Justice (NIJ), has created a
training program for apprentice forensic firearm and toolmark examiners. This training program
has outlined the nine steps of the Cycle of Fire here:

https://projects.nfstc.org/firearms/module08/fir_m08_t04.htm

Step 1. Feeding:

Feeding refers to the insertion of cartridges into the chamber; the breech bolt pushes the cartridge
into final position. Typically, the incoming round slides across the bolt or breech face during this
camming action. The feeding function can be manual or performed by various kinds of belts,
magazines and / or clips.

Step 2: Chambering

Chambering is the insertion of the cartridge into the chamber. If a cartridge of the incorrect
length or diameter is used or if there is foreign matter in the chamber, chambering may be
obstructed, causing a malfunction. Excess oil or grease in the chamber may cause overpressure,
resulting in a ruptured cartridge case and potentially serious accidents.

Step 3: Locking

The breech bolt mechanism locks the cartridge into position in the barrel before firing. Most
quality firearms are equipped with an interrupter mechanism that disconnects the trigger from
firing pin, thus making it impossible to fire until the mechanism is safely locked. This critical
relationship is referred to as timing. (Blowback mechanisms involve a spring-held bolt; the
mechanism is not technically locked, it is held together by spring tension and bolt inertia.)
The locking principle is easily demonstrated by closing a high-velocity .30 caliber bolt-action
rifle. When the bolt is turned down at the end of its forward thrust, one or more lugs rotate into
machined slots or against a shoulder in the receiver. This closure is essential; if the firing pin
falls on the cartridge primer before the mechanism is safely locked, an accident may occur.

Step 4: Firing


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When the breech is fully locked, a pull on the trigger mechanically translates to the firing pin
release. In the cocked position, the firing pin has a hammer behind it with a spring forcing it
towards the primer, restrained only by a sear that is engaged by the trigger. A pull on the trigger
trips the sear from the engaging notch in the hammer. The hammer, actuated by a cocked spring,
drives the firing pin sharply against the percussion-sensitive primer, which fires the cartridge.

Step 5: Obturation

Obturation occurs when powder gases under high pressure (e.g., two and one-half tons psquare
inch in the .30-06 Springfield cartridge) are sealed to prevent them from jetting between primer
cup and cartridge case, cartridge case and primer wall, and projectile and bore.
Cartridge cases must be sufficiently flexible to expand against the chamber wall and transmit the
instantaneous powder pressure to the barrel metal that surrounds the chamber. When the
chamber pressure has returned to zero, the cartridge case must also be flexible enough to release
itself from the chamber wall (even though it is now pressure-form-fitted to the chamber).
Likewise, the primer cup has been pressure-held against the side of the cartridge case and
depends upon the face of the breechblock for locked support during the interval of high-chamber
pressure. Obturation also occurs with the projectile; bullets are made sufficiently larger than the
bore diameter to extrude into the rifling grooves and seal the gases. The sharp hammer action of
the instantaneous high pressure and temperature may upset the projectile base, which enhances
sealing. Shotgun wads perform the sealing function in smooth bore weapons.


Additional definitions liberally used when discussing modern firearms are Semi-automatic Fire,
Full Automatic fire, Select Fire, Rifling, Caliber and Gauge.


RIFLING:
Rifling refers to a series of grooves cut or impressed inside the barrel in a spiral pattern. The “high”
portions of these patterns as called “Lands”. The “lower” portion of this pattern are called
“Grooves”. When a projectile (or bullet) is fired in a “rifled” firearm it comes into contact with the
lands as it leaves the chamber and begins to travel down the barrel. Because the lands are oriented
in a spiral pattern the rifling imparts a spin to the projectile which improves stability and accuracy.


CALIBER:
Caliber is a dimensional measurement of the inside (or bore) of a rifled barrel. In the United States
caliber is traditionally expressed in fractions of an inch. For example, a .22 caliber firearm is
designed to chamber and fire a projectile which measures .22 inches (or slightly less than a quarter
of an inch). A .50 caliber firearm chambers and fires a projectile which is approximately a half
inch in diameter.

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In Europe, and the majority of other countries utilizing the metric system, caliber has historically
been expressed in millimeters (mm). Therefore a 9mm firearm is designed to chamber and fire a
projectile with a diameter of 9mm.


A number of firearm calibers widely manufactured have two separate caliber designations, one in
inch measurements and one in metric, which are equivalent and interchangeable. For example, a
rifle chambered in .308 caliber is also referred to as 7.62 x 51mm.


GAUGE:
Gauge is a dimensional measurement which is traditionally used to denote the bore of a non rifled
or “smoothbore” firearm (i.e. a Shotgun). Shotguns were initially designed to fire a mass of round
shot as opposed to one solid projectile and therefore a caliber designation is not readily applicable.
Gauge refers to the number of lead spheres which will fit inside the bore and equal one pound. For
example in a 12 gauge shotgun you can fit 12 spheres of lead, which are approximately 18.52mm
or .73 inches in diameter, the total weight of which will equal one pound. If the diameter of the
spheres is increased, it will require less of them to equal one pound and therefore the smaller the
“gauge” the larger the dimension of the bore. The exception to this measurement system is the
.410 gauge shotgun which is actually a caliber designation.


VII. TYPES OF MODERN FIREARMS:
Modern firearms as currently manufactured for civilian ownership fall into two general types.
Handguns and Long Guns (or shoulder weapons).


HANDGUNS:
Handguns are generally defined as a firearm having a short stock (grip), and are designed to be
held, and fired, with one hand. The term “Handgun” defines two distinct types of modern
firearms, the revolver, and the semi-automatic pistol.


A revolver is a handgun designed and manufactured with a revolving cylinder to contain,
chamber and feed multiple rounds of ammunition. In a modern double action revolver pulling the

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trigger rotates the cylinder bringing an unfired cartridge of ammunition in line with the barrel and
firing pin. Pulling the trigger also cocks the hammer and then releases it either directly (or
indirectly via a firing pin) to strike the primer of the cartridge initiating the firing sequence as
stated previously. In this type of revolver the trigger must again be pulled to rotate the cylinder in
order to fire another cartridge. When all cartridges have been fired the cylinder is unlocked from
the frame and swings out to facilitate removal of expended cartridge casings and insertion of
unfired cartridges. The cylinder is then closed and relocked within the frame and the handgun is
again ready to fire when the trigger is pulled.


A pistol is a handgun designed and manufactured with the firing chamber as an integral part of the
barrel and utilizes a “box” magazine to contain and feed multiple rounds of ammunition. In this
type of handgun, generally, the box magazine is inserted into the firearm, the slide or bolt is pulled
back and released which springs forward and feeds a cartridge into the chamber. When the trigger
is pulled a firing pin or striker is released which impacts the primer of the cartridge and initiates
the firing sequence of the ammunition. In most pistols a portion of the recoil or gas pressure
generated by firing the cartridge is utilized to move the slide rearward, extract and eject the
expended cartridge case and chamber another unfired round from the magazine. This sequence can
be repeated by pulling the trigger once for each shot until the magazine capacity is exhausted. The
pistol can then be reloaded by removing the empty magazine and inserting a loaded magazine.


A Single Shot Pistol refers to a handgun which has no internal magazine capacity, cannot accept a
detachable magazine, and requires the operator to manually reload the firearm after each shot fired.


LONG GUNS / SHOULDER WEAPONS:


In terms of modern firearms manufacture Long Guns are generally of two distinct types, rifles and
shotguns. A rifle is a firearm which is designed and intended to be fired from the shoulder. It fires
a single shot through a rifled bore for each pull of the trigger. A shotgun is a firearm which is also
designed and intended to be fired from the shoulder. It fires either a number of ball shot (commonly
termed “buckshot” or “birdshot”) or a single projectile (commonly termed a “slug”) through a
smooth (non rifled) bore for each pull of the trigger.

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RIFLES:
Historically speaking rifles are the oldest type of firearms in existence. In terms of
“types” of rifle there are numerous variations. All of these variations, generally speaking, are
defined and distinguished by the way they are loaded and reloaded. For example, single shot rifles
fire one shot for each pull of the trigger. They have no internal or external magazine capacity and
must be reloaded with a new unfired cartridge by hand for each shot. Many of these have a hinged
or “break open” receiver to facilitate loading and unloading.


A Pump Action Rifle requires the operator to manually manipulate a forearm piece which is
traditionally found underneath the barrel. After firing the forearm is pulled backward which
unlocks the bolt, extracts and ejects the fired cartridge case. Pushing the slide forward feeds an
unfired cartridge from the magazine, cocks the firearm mechanism and locks the bolt for a
successive shot. Pump action rifles have been manufactured with both tubular and detachable box
magazines.


Bolt action rifles require the operator to manually manipulate the bolt of the rifle. After firing the
bolt is first unlocked from the chamber and then moved rearward. This action also extracts and
ejects the expended cartridge case. The bolt is then moved forward which feeds an unfired cartridge
from the magazine into the chamber. Once the bolt is then again locked by the operator it is ready
to fire. Bolt action rifles usually have an internal fixed magazine or tubular magazine which will
facilitate reloading via manipulation of the bolt until that capacity is exhausted. Bolt action rifles
were generally the choice among hunters and military forces through the end of World War II.


A lever action rifle is similar to the bolt action rifle in that the operator is required to manipulate
the mechanism of the firearm. A lever at the bottom of the receiver of the rifle is manipulated in
and up and down motion in order to unlock the bolt and move it rearward, extract and eject the
expended cartridge case, feed an unfired cartridge into the chamber and lock it. This action is
required for each shot fired through the rifle. Generally speaking, lever action rifles are usually
manufactured with tubular magazines which will vary in capacity depending on the caliber of the
firearm.



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A semi-automatic rifle utilizes the energy generated by the firing of the cartridge to power the
cycle of fire. This is accomplished by siphoning off a portion of the gases generated by firing to
operate the mechanism or by utilizing the recoil generated by firing much as in a semi-automatic
pistol as described previously. Once loaded the operation of this cycle of fire is not dependent on
the operator to affect any portion of the process other than to pull the trigger. Semi-automatic rifles
are, and have been previously, manufactured with both fixed internal magazines and a capacity to
accept detachable external magazines. As such this type of rifle is capable of firing with each pull
of the trigger until the supply of ammunition is exhausted. As stated previously the majority of
military firearms through World War II were bolt action. The exception to this rule was the United
States entering the war with the semi-automatic M1 (Garand) .30-06 caliber rifle as standard issue.
The Garand had a fixed internal magazine with an eight-round capacity.


SHOTGUNS:
Modern shotguns, as stated previously in regard to rifles, are generally classified and characterized
by their operating system. (i.e., the manner in which they function, are loaded, and reloaded).
Additionally in the case of shotguns with multiple barrels they are defined by placement or
orientation of same.


Single Shot Shotguns function similarly to the single shot rifle. They may have a hinged receiver
which allows the operator to open the action at chamber area to facilitate loading and unloading of
the firearm. There are also single shot models that are loaded and unloaded through a bolt
action mechanism and have no additional magazine capacity.


Bolt Action shotguns are manufactured, as stated above as single shot, or with internal or
detachable magazines to facilitate easier and faster reloading. They function in the same way as a
bolt action rifle and require manual manipulation of the bolt by the operator to unload and reload.


Lever Action Shotguns, again function in the same fashion as a similarly designed rifle. Manual
manipulation of the lever is required for successive shots.




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Pump Action Shotguns have the same general operating system as a similarly designed rifle. The
“action” of the shotgun must be worked forward and back by the operator to unlock the bolt, extract
and eject the expended shotgun shell, reload and relock the bolt for firing.


Semi-automatic Shotguns, as with their rifle caliber counterparts, utilize energy (either recoil or
gas pressure) generated by firing ammunition to “power” the operating system of the firearm.
These are manufactured with a number of different magazines, both internal and fixed, as well as
external and detachable. They are capable of firing a single shot with each pull of the trigger until
the supply of ammunition in the magazine is exhausted.


Break Open, Double Barrel and “Tip Up” Shotguns have a hinged receiver which facilitates access
to the rear of the chamber for unloading and reloading. They are manufactured in single shot and
double barrel variations. Double barrel variations are further delineated by the placement of their
barrels. Side by Side Shotguns have two barrels situated next to one another in a horizontal
arrangement. Over and Under Shotguns have two barrels superimposed upon one another in a
vertical plane. The mechanisims in each of these allow staggered firing of each of the two barrels
with a separate pull of the trigger. When the hinged action is opened the expended shotgun shell
hulls can be manually extracted although more complex designs with auto ejectors perform that
function when “opened” without action by the operator.


OTHER TYPES:
There are additional types and classifications of firearms not discussed at length here as they are
not as numerous or popular as those discussed thus far. For example a “Drilling”, a type of weapon
popular in Europe consists of a shotgun barrel and a rifle mounted to the same receiver. They are
neither popular nor commonly found in the United States. Other types of firearms such as
smoothbore revolvers, Short Barreled Shotguns, Short Barreled Rifles and Machineguns are
regulated by ATF under the auspices of the National Firearms Act (NFA). Manufacture, transfer,
and ownership of these “NFA Firearms” is subject to more stringent regulations to include
registration in a Federal Database.


ASSAULT WEAPONS:

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In recent years there has been an increase in the availability of semi-automatic rifles, pistols and
shotguns with features initially designed (or patterned after those designed) for a military purpose.
As this fact is intrinsically relevant to this case it is important to discuss the history of the
development and evolution of firearms with these features.


HISTORY:
The Merriam Webster Dictionary defines the term “Assault Rifle” as “any of various automatic
or semiautomatic rifles with large capacity magazines designed for military use”. It further
defines “Assault Weapon” as “any of various automatic or semiautomatic firearms.”


Although not a legal classification under Federal Law the term “Assault Rifle” generally refers to
a firearm capable of both fully automatic and semi-automatic fire (essentially a select fire
machine gun under the 28 U.S.C. 5845(b) of the National Firearms Act of 1934.)


It is a generally accepted premise amongst firearms experts and historians that the first “Assault
Rifle” or “Assault Weapon” is the German StG 44 (Sturmgewehr Model 1944) which appeared
in production form late in WWII. Earlier pre production variants included the MP 42 and MP 43
(Machinenpistol 1942 and 1943 respectively). The Germans termed the rifle “Sturmgewehr,”
literally “Storm Rifle,” and a number of the features included utilization of a portion of the gas
generated by the burning cartridge propellant to operate the rifle, extensive use of steel
stampings in its construction, a detachable magazine, a separate pistol style grip (not integrated
with the shoulder stock), a bayonet mounting lug and a threaded barrel to facilitate the
attachment of a grenade launcher. It fired a cartridge that was smaller dimensionally and less
“powerful” (in terms of muzzle velocity and foot pounds of energy) than the standard 8mm
Mauser cartridge in use by the German Army in their issued bolt action Mauser rifles.


Following the end of the war captured StG 44’s were analyzed by the Allies and although there
was reluctance to move to a smaller caliber cartridge a number of the features of the StG 44
found favor in the design of successive European, American and Eastern Bloc military rifles.
Noted firearm expert and historian Jim Supica wrote in his forward to the book “Guns,”

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“Most military establishments hesitated to “downsize” the range and power of their primary
rifles in the early Cold War years. The semi-auto detachable magazine concept was an obvious
success and there was something to be said for full auto capability.”(1)


He further writes,
“However, the assault rifle concept wouldn’t go away. The Soviet Union accepted the lower
power round idea in its fixed magazine semi-auto chambered for an intermediate power 7.62 x
39 mm round in 1945, the SKS, which saw wide distribution and production in Soviet client
states.”(2)


Two years later in 1947 the USSR followed the SKS with what Supica terms,
“The quintessential assault rifle – the Kalashnikov designed AK-47.”(3)


The design of the AK-47 carried forward a number of the features introduced on the German StG
44. These features include a gas-powered operating system, use of steel stampings in its
construction, a separate pistol grip, separate shoulder stock, a detachable magazine, a bayonet
lug and provision for attachment of a grenade launcher. Due to the separate stock and pistol grip
the AK, much like the StG 44, also utilized a barrel shroud / or at the forward third of the rifle.
Some variations of the early AK-47’s (AKM) also featured a compensator at the muzzle


“…that deflected gas upward and to the right to “compensate” for the rifle’s tendency to kick up
and to the right with every shot.”(4)


In the 1950’s numerous Nations sought to replace WWI and WWII vintage bolt action and semi
automatic rifles with these newer and more effective designs. With the birth of the North Atlantic
Treaty Organization (NATO) however utilization of Soviet Bloc AK or SKS Assault Rifles was
not possible. Accordingly a number of firearms manufacturers outside the Soviet sphere of
influence developed military rifles which carried forward these same features to one extent or
another. Fabrique Nationale (FN) of Herstal, Belgium and Heckler Koch (HK) of Oberndorf,
Germany are two noteworthy examples.




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FN developed the FN-FAL (Fusil Automatique Leger) and HK the G3 which found a ready
market amongst nations that did not favor the Soviet AK type designs. Both incorporated
features which, like the AK, were derived directly from the StG 44. Their designs featured some
parts made from metal stampings as opposed to heavier and more expensive machined steel
pieces. A separate pistol grip, shoulder stock, detachable magazine and barrel shroud followed
the basic design of the StG 44. A flash hider and / or muzzle brake have appeared in production
variations of both rifles. These rifles were destined from inception to become widely exported as
the domestic market in both countries was relatively limited. The FN-FAL and G3 have been in
production since the 1950’s and both FN and HK have licensed production to numerous
countries in South America, Africa and the Middle East.


By the late 1950’s through the late 1960’s most nations who could afford to do so had replaced
early 20th century rifle designs with these newer and more effective rifles for their military
forces.


In the United States progress in this arena moved at a significantly slower pace. The prevailing
wisdom here was to stay away from lighter, smaller rifle calibers and cartridges as the .30-06
cartridge used in the M-1 Garand Rifle during WWII had proven to be more than successful
during WWII. Their initial answer to the burgeoning move towards Assault Rifles was a
variation of the basic M-1 Garand operating system, the T44, or M-14. Outwardly the M-14
retained a full length wood stock as did the Garand, however it featured a detachable magazine,
select fire (both semi-automatic and fully automatic) capability as well as a flash hider. It
competed directly against the FN-FAL (designated T88) in U.S. Army trials and was selected in
1957.


In the mid 1950’s ArmaLite Corporation’s chief engineer, Eugene Stoner, developed a number
of lightweight assault rifle designs which resulted in the AR-10 in .308 caliber. Its design closely
followed what was now becoming standard assault rifle design i.e., light weight (aluminum
forged receivers as opposed to machined steel), separate pistol grip and shoulder stock, foregrip /
barrel shroud, detachable magazine, and numerous flash hider / muzzle brake variations.
ArmaLite continued to refine the basic design of the AR-10 which resulted in the AR-15.

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AR-15 was designed to chamber and fire the 5.56 x 45mm cartridge (somewhat interchangeable
with .223 Remington caliber). However despite resistance to the smaller caliber and some initial
reliability problems due to improper maintenance by operators the rifle was adopted as standard
issue by the US Army in the mid 1960’s. The production of the rifle had been licensed to Colt
and initially the model designation was, as produced, AR-15. Later after a series of engineering
changes the standard US military designation was changed to M-16. When first deployed as a
standard issue rifle for US Military Forces the AR-15 / M-16 platform was maligned as
unreliable and prone to jamming. This was due, in part, to inadequate maintenance by the
operators themselves. Once the problems were addressed and rectified the rifle proved to be as
reliable and accurate as the AK type rifles deployed by the North Vietnamese and Viet Cong.




                    Image from “The Black Rifle”, P.95. (see bibliography)


In the ensuing 40+ years both the military and civilian versions of the M16 / AR15 platform have
undergone numerous modifications both cosmetic and mechanical. Again however the basic
configuration, appearance, construction and operation of the internal gas operating system (as
designed) has remained unchanged since its initial inception as a military weapon.


The expiration of Colt’s patents expired in the late 1970’s naturally spawned competition in the
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marketplace Throughout the design’s lifespan many of the internal fire control components have
remained unchanged and their specifications standardized industry wide. There are multiple
internal parts that are completely interchangeable between military M16’s manufactured in the
1960’s by Colt and a AR15 type rifle produced today by any one of hundreds of U.S.
manufacturers who produce either receivers or internal operating parts. For example, a Bolt
Carrier manufactured in 1967 by Colt will fit, and function as designed, in a AR copy
manufactured in 2017. Additionally, the overall configuration of “copycat” AR rifles remains
identical to the original production design of the early 1960’s The overall design configuration
(two piece hinged receiver, shoulder stock in line with the chamber and barrel, placement of the
magazine, external switches and other features) are identical or nearly so.


Due to their modular construction AR type rifles are easily customized to suit the owner’s
personal preference. The rifle receiver itself is a hinged two-piece unit and the “upper receiver”
and “lower receiver” can be swapped out for other similar pieces with ease. The design also
facilitates replacement of internal fire control components and assemblies. The following
video illustrates this:


https://www.youtube.com/watch?v=F00FEJZbrb0


It is important to note the respective characteristics of the 5.56mm / .223 caliber cartridge that
influenced the US Military’s decision to switch over from the 7.62 x 51mm / .308 caliber round
used in the preceding model M-14 rifles.


Dimensionally the 7.62 x 51mm cartridge is 71mm (2.8 inches) long overall and weighs
approximately 0.9 ounces. The 5.56mm cartridge is 57mm (2.24 inches) long overall and weighs
approximately 0.4 ounces. Five pounds (80 oz.) of 7.62 ammunition would consist of 89
cartridges. Five pounds of 5.56 would consist of 200 cartridges. The lighter weight and smaller
dimensions of the 5.56 / .223 caliber cartridge would allow more ammunition to be carried by an

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individual combatant for an equivalent weight. The shorter overall dimensions of the 5.56 also
commensurately allowed for smaller detachable magazines and / or larger capacity magazines for
the same size. A 30-round magazine for a 5.56mm AR-15 rifle is smaller than a 20 round
magazine for a 7.62mm M-14 rifle.




   5.56 mm (L), 7.62 x 51 mm (R) https://www.pewpewtactical.com/7-62-nato-vs-5-56-nato/


Performance in terms of muzzle velocity was also a consideration. The 7.62x51mm cartridge has
a muzzle velocity of approximately 3200 feet per second (fps). The 5.56 cartridge has
approximately the same velocity (for reference a 9mm pistol cartridge has a muzzle velocity of
approximately 1100 fps). 5.56mm bullets, upon contacting tissue will “yaw” (begin to rotate on
it’s axis) which contributes to the creation of both temporary and permanent large wound
cavities. Handgun bullets travelling at a lower velocity do not typically yaw upon contact with
tissue and do not create as large of a wound cavity nor commensurate destruction of tissue.
The yaw movement of a 5.56/.223 bullet can also cause it to fragment upon striking bone which
contributes to additional tissue damage not immediately adjacent to the cavity itself.


Noted Wound Ballistics expert Vincent DiMaio in “Gunshot Wounds” writes,



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“As the bullet enters, the body, there ‘tail splash’ or backward hurling of injured tissue. This
material may be ejected from the entrance. The bullet passes through the target, creating a large
temporary cavity whose maximum diameter is up to 11-12.5 times the diameter of the projectile.
The maximum diameter of the cavity occurs at the point at which the maximum rate of loss of
kinetic energy occurs. This occurs at the point where the bullet is at maximum yaw, i.e., turned
sideways (at a 90-degree angle to the path) and / or when it fragments. If fragmentation does not
occur and the path is long enough, the yawing continues until the bullet rotates 180 degrees and
ends up in a base-forward position. The bullet will continue traveling base first with little or no
yaw as this position puts the center of mass forward.
The temporary cavity will undulate for 5-10 msec before coming to rest as a permanent track.
Positive and negative pressures alternate in the wound track, with resultant sucking of foreign
material and bacteria into the track from both entrance and exit. In high-velocity centerfire rifle
wounds, the expanding walls of the temporary cavity are capable of doing severe damage. There
is compression, stretching and shearing of the displaced tissue. Injuries to blood vessels, nerves,
or organs not struck by the bullet, and a distance from the path, can occur as can fractures of
bones, though, in the case of fractures, this is relatively rare. In the author’s experience,
fractures usually occur when the bullet perforates an intercostal space fracturing ribs above and
below the bullet path.”(5)
Demaio further states,
“Projectile fragmentation can amplify the effects of the temporary cavity increasing the severity
of a wound. This is the reason for the effectiveness of the 5.56 x 45-mm cartridge and the M-16
rifle. For the M-193 55-gr. bullet, on the average, the yaw becomes significant at 12 cm with
marked tissue disruption occurring most commonly at 15-25 cm due principally to bullet
fragmentation.”(6)


Because of the propensity of the 5.56mm/.223 caliber round to create significant damage upon
impacting living tissue, it is not generally considered nor favored as a hunting cartridge.


Colt sought to capitalize on the military acceptance of the AR-15 / M-16 and shortly began to
Propose production of these rifles for sale to the civilian market. Colt submitted a sample to the
Treasury Department on October 23, 1963 for approval. The difference between the military and
civilian versions were removal of fully automatic capability. This modification was achieved
through nine changes to the fire control system. These modifications did not change the general
overall appearance, physical features or semi-automatic rate of fire of the rifle:


  “1. Removal of the automatic sear.
   2. Elimination of the automatic sear hole in the lower receiver.

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   3. Elimination of the automatic sear well in the lower receiver.
   4. Removal of the automatic sear hook on the hammer.
   5. Removal of the automatic sear trip notch from the bottom rear portion of the bolt carrier.
   6. Modification of the selector to eliminate the automatic setting.
   7. Elimination of the “AUTO” position identification marking on the lower receiver.
   8. Mechanical restriction of selector lever movement to two positions only: SAFE and
       FIRE.
   9. Enlargement of the front pivot pin holes in both the upper and lower receivers, and use of
       a larger-diameter front pivot pin.”(7)


The animation in this video illustrates the function of both semi-automatic and full automatic AR
type rifles. Note that the difference between the two consists of only a few parts in the trigger
control group. The same basic configuration and function of the military rifle is shared with the
semi-automatic models:


 https://www.youtube.com/watch?v=omv85cLfmxU


The additional features on these rifles intended to enhance their capability as Military
Firearms remained to include the bayonet lug and flash hider and the rifle was designated the
Model R6000 Colt AR-15 SP-1 (Sporter). Treasury approved Colt’s semi-automatic version of
the rifle in December 1963. In the late 1980’s – early 1990’s the term “Assault Weapon” began
to see common usage in the firearm community. had already entered popular / common use (or
the “lexicon” of firearms) as early as 1986 when the “Gun Digest Book of Assault Weapons”
was first published. Edited by Jack Lewis the front cover states that it contains:


     “A detailed analysis of Assault Type Weapons”


     “Test Reports – Firing the latest in full and Semi Autos, centerfires,
      rimfires and shotguns”




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Additionally, the August 1981 issue of “Guns and Ammo” Magazine featured as it’s cover a
photograph of a WWII era German MP44 Sturmgewehr rifle and a (then) current production
Heckler Koch HK-91 semi-automatic rifle under the heading “The New Breed of Assault Rifle.”




Assault Weapons have also been defined by statute at Federal, State and local levels. These
particular definitions are, as in Cook County, dependent on particular features found on select
fire rifles originally designed and manufactured for use on the battlefield.


PISTOL CALIBER FIREARMS:
It is important in terms of this particular case to also address the evolution and development of
Firearms that chamber and fire pistol caliber ammunition. A number of the handguns that are

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banned under the The Ordinance Assault Weapons Ban are direct evolutionary descendants of
sub machineguns initially designed and produced for Military use. As such they are worthy of
discussion relative to this case. A sub machinegun can generally be defined as a short
“Carbine Length” or compact firearm which chambers and fires pistol caliber ammunition in
select fire or Fully Automatic Mode.


Many of the construction and design features attributed to assault weapons, and the STG44, were
first utilized in the design and manufacture of mid-20th Century sub machineguns. Nazi
Germany entered the war with the innovative MP38 (Maschinenpistole 38). It was chambered in
9mm and later, after a number of engineering changes, re designated the MP40. Design features
later commonly found in assault weapons which included include an adjustable stock, separate
pistol grip, a detachable magazine and use of steel stampings in its construction.


While the United States initially entered World War II with a military variant of the Thompson
.45 caliber sub machinegun it was heavy and expensive to manufacture as a number of the major
components were machined from solid steel. Before the end of the war the Thompson had been
supplemented by the M3 “Greasegun” initially produced by General Motors. The receiver was a
stamped and welded sheet metal assembly with an adjustable sliding shoulder stock. Like the
MP38 / MP40 it had a separate pistol grip, a sliding / adjustable shoulder stock and a detachable
box magazine with a 30-round capacity. In a utilitarian sense it was as effective as the Thompson
and at approximately $20 it was less than half as expensive for the US Government to purchase.


The United Kingdom produced over one million Sten Submachine guns during WWII. A rugged
and reliable firearm made largely from welded steel stampings it was utility, reliability and ease
of manufacture both combined and perfected. Features shared with the M3 and MP40 included
an adjustable shoulder stock, separate detachable box magazine and, on some variations, a barrel
shroud allowing the operator to utilize the area surrounding the barrel as an auxiliary grip point
without contacting a heated barrel.


Prior to and during WWII a number of other nations developed sub machineguns which followed
The same design and construction philosophy. Notable examples include the Soviet PPSH41, the

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Italian Beretta Model 38/42, and the Swedish Carl Gustav Model 45.


Following WWII most new sub machinegun designs continued the design philosophy which
combined utility, ease of manufacture and the features of wartime firearms. In the early 1960’s
HK introduced the MP5 which became an immensely popular choice for military and law
enforcement agencies worldwide due to its inherent reliability and accuracy. It was produced in
multiple iterations to include a semi-automatic civilian version as well as a pistol variant without
a provision for a shoulder stock (HK SP89). Israeli Military Industries also successfully
marketed their UZI sub machinegun for export in both fully automatic / select fire, and in
civilian semi-automatic variants.


Additionally, a number of sub machinegun designs proved unsuccessful in terms of Military and
Government sales but nonetheless found a ready market when re engineered as a semiautomatic
pistol. Notable examples include the Cobray MAC-10 (and successive variants) and the Intratec
TEC-9 which began life as a Swedish designed sub machinegun, the Interdynamic MP-9.


FEATURES OF ASSAULT WEAPONS UNDER THE ORDINANCE:
Equipment designed, produced and issued to modern Military forces for utilization in the field
emphasizes functionality. In terms of small arms designed and produced for military use form
follows function and features are present to maximize effectiveness. Maximizing effectiveness in
terms of military small arms include the ability to deliver reliable lethality or the ability to
incapacitate the chosen target and provide increased survivability for the operator in battle.


Numerous Assault Weapons as defined under the Ordinance available for purchase by the public
are, save the lack of select fire capability, identical copies of military firearms. As such they
retain a number of features originally designed to maximize their effectiveness in combat. Other
firearms available to the public, which were not initially intended for sale to government or
military customers, incorporate features which mimic those found on military firearms. There are
countless accessories available to add to firearms traditionally considered “sporting firearms”
(i.e., those initially designed and manufactured for target shooting or hunting) which brings them


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functionality more towards the military side of the spectrum and away from the sporting side.


Specific defined features banned by The Ordinance, whether incorporated into the firearm by the
manufacturer as standard equipment or subsequently added by the owner as an accessory, can
generally, be considered capable of increasing their effectiveness and lethality. As such an
examination of the definitions, banned features and their purpose / functionality under the
legislation is relevant in addressing the points raised by the plaintiffs:


Assault weapon means:
(1) A semiautomatic rifle that has the capacity to accept a large capacity magazine
   detachable or otherwise and one or more of the following:
   Discussion of magazine capacity and / or detachable magazines will be discussed at the end
   of the additional features discussed below as it is common to all classes of firearms covered
   under the ban.
    (A) Only a pistol grip without a stock attached;


A semi-automatic rifle which includes only a pistol grip (or does not include a shoulder
stock) increases the ability of the operator to conceal the firearm, maneuver the firearm in
confined space and facilitates easier firing from positions other than the shoulder (firing from the
hip or a point position directly in front of the operator). Rifles traditionally considered
sporting firearms are generally not designed and produced as such.

    (B) Any feature capable of functioning as a protruding grip that can be held by
        The non-trigger hand;


Protruding foregrips allow increased stability of the firearm by the operator. They allow the
operator to better control recoil and muzzle climb thus increasing the hit probability of
successive shots. It is not a feature found on traditional sporting firearms. It appeared on some
versions of AK based rifles however it was not until the advent of Rail Attachment Systems
(RAS) and acceptance by the US Military of same that foregrips for semi-automatic rifles have
grown in popularity.




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    (C) A folding, telescoping or thumbhole stock;


Folding and / or telescoping stocks allow the operator to more easily conceal or maneuver the
rifle in a confined space. It also facilitates easier or more comfortable firing from positions other
than the shoulder (as with pistol grip only rifles). US Military origins for this type of stock can
be found on the M1 carbine in WWII when modified for paratrooper use. Thumbhole stocks
have traditionally been utilized on firearms for sport and target shooting however during the
Federal Assault Weapons Ban a number of AK style firearms (amongst others) were so equipped
in order to meet the requirements during the time that the law was in effect.


    (D) A shroud attached to the barrel, or that partially or completely encircles the
       barrel, allowing the bearer to hold the firearm with the non-trigger hand
       without being burned, but excluding a slide that encloses the barrel; or


Military semi-automatic and select fire rifles have featured a shroud or handguard that encircles
the barrel since before the onset of WWII. The M1 “Garand” Rifle utilized by the US Military
during that conflict incorporated a traditional wooden stock similar to most hunting and sporting
rifles of the period however it also featured a wooden handguard which covered the top 2/3rds of
the barrel. Therefore this design feature is not a recent development. Enclosing the barrel in a
shroud serves multiple purposes. In a modern gas operated semi-automatic Military rifle it serves
to protect the gas tube / piston mechanism from inadvertent damage, protects the operator from
injury due to a hot barrel or other component and provides additional grip space for the operator
to steady the rifle. For example, the handguard fitted to the M-16A1 as originally adopted by the
US featured a rounded triangular cross section forward of the receiver. This shape was a natural
fit for the non-trigger (supporting) hand.


    (E) A muzzle brake or muzzle compensator;


The function of a muzzle brake in a semiautomatic rifle can serve a number of purposes
depending on its design and placement. Escaping gases can be vented upwards at the end of the
barrel to reduce “muzzle flip” and allow the operator to regain control of the rifle more rapidly
after firing. As stated earlier in the case of AK style rifles a muzzle brake serves to vent gases

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directionally to counter the tendency of this rifle to move up and to the right after firing. The net
advantage of less time required to recover control of the rifle after firing is that it allows the
operator to more rapidly reacquire targets fire accurate additional shots if required.


(2) A semiautomatic pistol or any semi-automatic rifle that has a fixed magazine, that
has the capacity to accept more than ten rounds of ammunition;
As stated previously magazine capacity is a common feature in all firearms subject to The
Ordinance
and will be addressed following the additional features discussed below.


(3) A semiautomatic pistol that has the capacity to accept a detachable magazine and
has one or more of the following:

     (A) Any feature capable of functioning as a protruding grip that can be held by
         the non-trigger hand;
Handguns, to include semi-automatic pistols are defined in part, under federal statute 18 U.S.C.
921 (a)(29), as being “designed to be held and fired by the use of a single hand”. Secondary
added grips are not found on sporting pistols manufactured in the United States or nor are they
typically found on military pistols. This advantage of this type of arrangement is increased
stability in controlling the pistol. Increased controllability can result in more effective shot
placement by the operator as well as less time to acquire successive targets. Addition of
a foregrip to a pistol would make the firearm subject to the provisions of the National
Firearms Act of 1936 (NFA) as it is considered “any other weapon” under the statute.



     (B) A folding, telescoping or thumbhole stock;
Generally, the same as 3a. to include that the addition of a stock would subject the
firearms to the provisions of the NFA


     (C) A shroud attached to the barrel, or that partially or completely encircles
         the barrel, allowing the bearer to hold the firearm with the non-trigger
         hand without being burned, but excluding a slide that encloses the barrel;


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Modern pistols wherein the design is based on either AR, AK type receivers or based on
submachine gun designs (TEC-9 etc.) usually have this feature with the same derivation
and resultant effect on accuracy as described under 1d.

     (D) A muzzle brake or muzzle compensator; or
         Generally, the same as stated under 1e.


     (E) The capacity to accept a detachable magazine at some location outside of the
          Pistol grip

The placement of a detachable magazine outside of the pistol grip is a feature not common to
sporting pistols and can trace its origin to military pistols designed in the late 1800’s. The Bergman
Military Model 1897 (or No. 5) featured a detachable magazine outside the pistol grip. Further
evolution of this design can be found in the Mauser C-96 or “Broomhandle” pistols which were
manufactured with fixed internal as well as detachable magazines. Modern firearms recently or
currently manufactured in this configuration are either semiautomatic pistol variants of
submachinegun designs (HK SP89, Czech Scorpion, TEC-9, etc.) or pistols based upon AR and
AK receivers / frames. Handguns as stated previously are legally defined as one handed firearms.
The modern firearms manufactured as stated previously (HK SP89 etc.) provide a second grip
point due to the due to the detachable magazine forward of the pistol grip. This increases stability
with a secondary attribute of allowing more controlled rapid fire.

(4) A semiautomatic shotgun that has one or more of the following:

       (A) Only a pistol grip without a stock attached;

       (B) Any feature capable of functioning as a protruding grip that can be held by the
           non-trigger hand

       (C) A folding, telescoping or thumbhole stock

       (D) A fixed magazine capacity in excess of five rounds; or

       (E) The ability to accept a detachable magazine

The derivation and discussion of the features banned in regard to semi-automatic shotguns are the


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same as those described previously in regard to semi-automatic rifles under the statute.


(5) Any shotgun with a revolving cylinder

This provision refers to semi-automatic “Striker 12” or “Street Sweeper” Shotguns (as marketed
in the United States) and derivations thereof. Originally a South Africa designed combat / riot
control firearm the 12 Gauge shotgun is fed via a twelve round spring loaded rotary magazine.
This design has not been accepted or adopted by the U.S Military or any domestic Law
Enforcement use by any agency that I am aware of. In terms of legitimate sporting use for either
hunting or target shooting I cannot conceive of it having any utility. A discussion of the type and
a firing demonstration can be found here:


https://www.youtube.com/watch?v=Uoy14h6K5TY&t=3s


In 1994 the Federal Bureau of Alcohol, Tobacco and Firearms ruled that these shotguns were “not
particularly suitable for sporting purposes” and reclassified them as “Destructive Devices”
therefore removing them from the Gun Control Act of 1968 and regulation under the National
Firearms Act.


High-Capacity Magazines:

Under The Ordinance “High Capacity Magazine” refers to any magazine with a capacity exceeding
ten (10) rounds for both Semiautomatic Rifles and Pistols. For semiautomatic shotguns the
legislation limits internal capacity to five (5) rounds. Generally speaking modern semiautomatic
rifles that are designed, manufactured and marketed as “hunting rifles” traditionally have an
internal magazine capacity of less than 10 rounds depending on caliber. For example, the
Browning BAR in .30-06 caliber as currently manufactured has an internal magazine capacity of
four (4) rounds.



High-capacity detachable magazines are not an evolutionary firearms development initially
designed or intended for the civilian marketplace. The lineage of high capacity detachable


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magazines can be traced directly to a military heritage. Magazine fed light machine guns developed
or deployed prior to and during WWI and thereafter refined and improved the capability and
reliability of this type of feeding mechanism on a large scale.


Without argument the ability to fire an increased quantity of cartridges without reloading increases
the lethality and effectiveness of small arms in combat or the military would not have incorporated
this feature. The initial AR-15’s manufactured by Colt for the U.S. Military in the 1960’s were
issued with 20 round detachable magazines. Later iterations of the AR-15 and M-16 in military
service featured 30 round detachable magazines as the needs of the service dictated. In a civilian
criminal mass or indiscriminate shooting the resultant effect is the same.


As stated previously form follows function in regard to equipment designed and intended for
military use. The intent of the Ordinance is to prevent or reduce the potential of a mass casualty
event occurring in the civilian arena through the use of what is, essentially, military hardware
designed and intended for use in battle.



OPINION - ASSAULT WEAPONS FOR HUNTING AND SPORTING PURPOSES:

In my opinion, based upon my training knowledge experience and research assault rifles were
not designed for traditional hunting purposes. Neither was the .223 caliber / 5.56 mm cartridge
originally developed for civilian hunting applications. (It is worth noting that in Illinois, amongst
other states, .223 / 5.56 is too small a caliber to be legal for hunting except for Coyotes). Hunting
with AR type rifles is permissible in some states however they must be chambered in a more
‘traditional’ hunting caliber such as .308 Winchester. There are numerous other traditional sporting
rifles (and in fact military surplus rifles such as the M1 Garand in .30-06 caliber) that are legal
under The Ordinance and chambered in a caliber both legal and more suitable for hunting than
.223 caliber / 5.56.mm.



OPINION - ASSAULT WEAPONS FOR HOME DEFENSE AND PERSONAL
PROTECTION:




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In terms of home defense and personal protection I am of the opinion that Assault Weapons,
whether in the form of a rifle or a handgun are a poor choice for either purpose. I have been asked
on numerous occasions during my career what I would recommend for either or both. My
recommendation is based upon my inquiry in return regarding the individual’s (and their family
members) personal experience and comfort level with firearms. In over 25 + years I have never
recommended an AR, AK, or other similar assault weapon for home defense.


Home defense and / or Retail Robbery situations are rarely, if ever, lengthy shootouts with
extensive exchanges of gunfire. I regularly review newsclips as posted on the National Rifle
Association’s “Armed Citizen” webpages. None of the newsclips have mentioned a situation
wherein there was a protracted lengthy shootout. I am not of the opinion that an abundance of
ammunition is a substitute for weapons familiarization and shot placement. Rather I believe that
large capacity magazines actually facilitate excessive discharge of ammunition with a resultant
risk to uninvolved individuals. Repeated practice and shooting with your chosen firearm will make
you a more effective deterrent should deadly force be required.


If the individual preferred shoulder weapons, I would recommend a pump action 12-to-20-gauge
shotgun (Remington 870, Mossberg 500 etc.) loaded with Buckshot and stored with the “hammer
dropped” on an empty chamber, safety off. The only action required to bring the
shotgun from a safe unloaded condition to a “ready to fire” condition is to work the pump action
of the shotgun. The advantages of this type of firearm are undeniable stopping power, low
probability of over penetration (as compared to rifle caliber and high velocity projectiles) no
manipulation of safety mechanisms required in a high stress situation and the loading process itself
is an audible deterrent. Training and familiarization with this type of a firearm is simple and
straightforward.


In recommending a handgun my first inclination is to recommend an eight-shot revolver in .38
+P caliber / .357 Magnum (Similar to S&W Model 627, Taurus Model 608 etc.) loaded with
hollow point bullets. As with my rationale for recommending a pump action shotgun there are no
complicated safety mechanisms to manipulate in a high stress situation, low probability of over
penetration and ease of reloading with a speedloader should more than eight shots be required.

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Revolvers are also easier and less complicated for other family members to learn to operate
especially if they have less familiarity with firearms.
.
In terms of a carry handgun I value concealability over ammunition capacity. The advantage of
concealed carry is protection without broadcasting the fact. In a street robbery scenario, I believe
the best course of action is to quickly extricate yourself from the “kill zone” and not engage in a
protracted gunfight. When I was employed as a Special Agent with ATF we were issued a Sig
Sauer P229 in .40 S&W caliber as a primary duty weapon. We were also given the choice of a Sig
Sauer P239 in .40 S&W or a five shot Smith and Wesson Model 640 in .357 Magnum as a backup
firearm. When off duty I carried the S&W 640 and a speedloader extensively as opposed
to the P229. I found it easy to conceal and am of the opinion that ten (10) rounds was an
adequate amount of ammunition to extricate myself from a street or retail location robbery should
I encounter one. Consequently, I have most often recommended either a lightweight small revolver
(S&W Bodyguard, Ruger LCR, Smith and Wesson Model 36, 640 or variant) carried with a
speedloader or a low profile small semiautomatic pistol (Ruger LCP, Colt Pocketlite etc.) with a
spare magazine.


Essentially the types of firearms classified as Assault Weapons under the County Ordinance,
specifically AR and AK type rifles, are direct developmental descendants of Military weapons
designed for use in combat. The ‘civilian’ AR-15 type retains in 5.56mm retains the same
performance characteristics (in terms of muzzle velocity, range etc.) as does the Military M-16
and its variants (M-16A2, M-4 etc.).


According to the US Army Manual 3-22.9 “Rifle Marksmanship M-16A1, M-16A2/3, M-16A4,
and M4 Carbine, April 2003” the maximum range of these rifles is 2650-3000 meters. They were
not designed, nor particularly suitable, for home defense in short range close quarter situations.




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Essentially the problem with use of AK or AR type in this capacity is one of overpenetration of
common household construction materials. Common bullet weights for .223 / 5.56mm caliber
projectiles are 50 to 62 grains + or – (0.11 to 0.14 ounces) and common muzzle velocities are
approximately 3,200 to 3,500 feet per second. A heavier bullet and increased velocity equates to
more of the cartridge’s energy being transferred to the target. The National Rifle Association
(NRA) American Rifleman Magazine tested the U.S. Army’s new .223 caliber cartridge (M855A1)
in 2014 and the results are published here:


https://www.americanrifleman.org/articles/2014/5/21/testing-the-army-s-m855a1-standard-ball-
cartridge/




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The article states that M855A1 ammunition, which is readily available to the public, is capable of
penetrating a concrete block at 20-40 yards (dependent on rifle barrel length) and 3/8 inch steel
plate at 300 yards. According to the article:


“the new bullet was also tested according to FBI criteria against those prescribed barriers,
including sheet steel and automobile glass. Not only did the M855A1 breach them, but it continued
on into ballistic gelatin with sufficient weight and velocity to have inflicted serious or lethal
wounds.”


This online video illustrates the capability of commonly available .223 / 5.56mm caliber
ammunition to penetrate Level III body armor. The author / narrator states that this test was
performed at a distance of “about seven yards”:


https://www.youtube.com/watch?v=oMYkEMhPsO8


For reference here is the Remington Factory ballistics chart for their commercial .223 offerings:




OPINION – ASSAULT WEAPONS AS A GENERAL THREAT TO PUBLIC SAFETY:
As mentioned previously in this report many of the firearms covered by the Ordinance can directly
trace their origins to those developed for use in combat. As such they were never initially intended
for general distribution / sale to the public.



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                                                                         EXHIBIT A



                                     James E. Yurgealitis
                                 24 Hour Mobile:
                                  Email: jyurgealitis@gmail.com
_____________________________________________________________________________________________

SUMMARY:

Self employed as a Legal and Public Policy Consultant providing Technical Firearms and Forensic
Consulting, Testing and Policy Research / Training Services to Corporations, Legal Counsel and the
Public Sector

EDUCATION:

B.A., Political Science and Psychology, St. John Fisher College, Rochester, New York – May 1985

PROFESSIONAL EXPERIENCE:

December 2012 to Present: Independent Legal and Policy Consultant / Subject Matter Expert

Currently provide independent consulting services to Corporations, Legal Counsel and Governmental
entities in regard to Public Policy and Technical matters relating to Firearms, Firearms Policy, Forensics
and Law Enforcement. Current and former clients include the Office of the District Attorney for Cook
County Illinois, The City of Sunnyvale, California, The City of Highland Park, Illinois, The Office of the
Attorney General for the Commonwealth of Massachusetts and the Center for American Progress,
Washington D.C. I have provided sound policy and technical assistance for my clients to include expert
testimony which successfully endured the opposition’s legal appeals to the U.S. Circuit Court of Appeals
and the U.S. Supreme Court.

December 2003 to December 2012: Senior Special Agent / Program Manager for Forensic Services
ATF National Laboratory Center (NLC), Beltsville, Maryland. U. S Department of Justice, Bureau of
Alcohol, Tobacco, Firearms and Explosives (ATF)

Directed the administration and management of ATF’s Forensic Training Programs to include the
National Firearms Examiner Academy (NFEA) a 12-month training program for State and Local Forensic
Firearm Examiner Trainees. Also managed two additional forensic training programs. Administered a
$1M + budget in accordance with strict ATF and National Institute of Justice (NIJ) guidelines and
reporting requirements. Responsible for oversight of all Forensic Firearms related research at the NLC.
Supervised a full and part time cadre of fifty-two (52) instructors and administrative personnel.
Maintained liaison with commercial firearms and ammunition manufacturers and subject matter experts
and ensure that lesson plans and curriculum reflected the latest technical developments in firearms
manufacture, forensics and their application to federal and state law. Applied for, received and managed
in excess of $2M in external grants to facilitate uninterrupted delivery of training during internal budget
shortfalls. Detailed to the Department of Homeland Security Command Center in 2005 with overall
responsibility to coordinate and direct Federal, State and Local Law Enforcement assets during and
following Hurricanes “Irene” and “Katrina” and again in 2010 for “Andrew” and “Danielle”.

June 1997 - December 2003: Special Agent / Violent Crime Coordinator, ATF Baltimore Field Division,
Baltimore, Maryland
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Responsible for management of ATF’s “Project Disarm”, a joint law enforcement initiative between ATF,
The United States Attorney’s office for the District of Maryland (USAO), the Baltimore City Police
Department, the Baltimore City States Attorney’s Office and the Maryland State Police. Duties included
reviewing over 400 state and local firearms related arrests annually for subsequent referral to the USAO
and Federal Prosecution. Managed a caseload of 75 – 100 criminal cases annually. Responsible for
selection, referral, follow - up investigation and subsequent indictment and prosecution of armed career
criminals. Testified in front of Federal Grand Juries in excess of 75 times annually. Was recognized, and
testified, as an expert witness in the Identification, Operability and origin of Firearms and Ammunition in
three Federal Judicial Districts. Toured over 25 firearms and ammunition manufacturing facilities in
Europe and the United States. Temporarily assigned in 2001 for three months to the 9-11 Task Force
investigation in conjunction with FBI Assets. Temporarily assigned to the D.C. Sniper Task Force
Intelligence Group in 2002 for two months.

June 1990 – June 1997:
Special Agent, ATF Baltimore Field Division, Baltimore, Maryland

Served in various capacities as a street-level Special Agent. Acted as Group Supervisor and Assistant
Special Agent in Charge on numerous occasions. Served on the Washington – Baltimore High Intensity
Drug Trafficking Area (HIDTA) task force from 1995 – 1999. Investigated armed narcotics trafficking
organizations, seized assets, authored and executed Federal and state search and arrest warrants,
conducted surveillance, interviews / interrogations, testified in Federal and state courts as a fact witness,
purchased firearms, explosives and narcotics while in an undercover capacity, investigated fatal bombings
and arsons, firearms trafficking, alcohol and tobacco trafficking, homicide, fraud and gun store burglaries.
Also while detailed for 8 months as the Public Information Officer authored press releases, provided
interviews to local and national print and television media outlets and made presentations to local and
national public and special interest groups and associations.

April 1989 – June 1990 and July 1986 – March 1987: Special Agent, United States Department of State,
Diplomatic Security Service (DSS), Washington Field Office, Rossyln, VA

Conducted investigations of violations of Federal Law under the department’s purview to include
Passport and Visa Fraud, Illegal trafficking of restricted firearms and war materials to prohibited
countries, human trafficking, seized assets, authored and executed State, local and Federal Arrest and
Search Warrants, testified in Federal Court as a fact witness, detailed on an as needed basis to the
Dignitary Protection Division as Agent in Charge of multiple protective details for visiting and resident
foreign dignitaries, temporarily assigned to support Physical and Personal Protective Security in various
U.S. Embassies overseas on an as needed basis, detailed to the Secretary of State Protective Division on
an as needed basis to supervise agents assigned to augment the permanent protective detail.

March 1987-February 1989: Special Agent, DSS, Secretary of State Protective Division, Washington, DC

Served in various capacities as Acting Agent in Charge, Acting Shift Leader, Lead Advance Agent and
Shift Agent. Responsibilities included close personal protection of the Secretary of State both
domestically and overseas, extensive foreign travel to facilitate and prepare security arrangements for
overseas visits to include Presidential Summit meetings, liaison with foreign host government officials to
plan and solicit assistance with security arrangements, supervision of agents temporarily assigned to
augment the detail, liaison with U.S Government Intelligence Agencies and other Federal, State and Local
Law Enforcement Agencies to identify and protect against potential threats to the Secretary of State.

CLEARANCES: Top Secret March 1986 valid through February 2015. Numerous prior SCI Clearances.




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TEACHING EXPERIENCE:

   -   Instructed at the Federal Law Enforcement Training Center (FLETC), for ATF and other Federal
       Law Enforcement Agencies
   -   Instructed at the International Law Enforcement Academy (ILEA) in Budapest, Hungary
   -   Instructed for numerous State, local and / or regional law enforcement agencies both in the United
       States, Canada and Central America

LINKEDIN PROFILE AND ENDORSEMENTS:

https://www.linkedin.com/in/james-jim-yurgealitis-68618464?trk=nav responsive tab profile pic

REFERENCES:

Available upon request




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                      Professional Qualifications of James E. Yurgealitis
                         Independent Legal and Forensic Consultant

I, James E. Yurgealitis, being duly sworn, depose and state:

1.) That I was previously employed as a Senior Special Agent / Program Manager with
    the Bureau of Alcohol, Tobacco Firearms & Explosives, (ATF) United States
    Department of Justice, and had been so employed since 1990. Prior to 1990 I was
    employed as a Special Agent with the Bureau of Diplomatic Security, (DSS) United
    States Department of State and had been so employed since 1986.

2.) I have a Bachelor of Arts Degree in Political Science and Psychology from St. John
    Fisher College, Rochester, New York.

3.) I am a graduate of the Federal Law Enforcement Training Center, Glynco, Georgia,
    the Criminal Investigator Training Program, Bureau of Diplomatic Security New
    Agent Training, and the Bureau of ATF New Agent Training Program.

4.) I have completed the Firearms Interstate Nexus Training Program conducted by the
    Firearms Technology Branch, ATF Headquarters, Washington, D.C.

5.) I have completed both Advanced Interstate and European Nexus Training conducted
    by ATF in conjunction with several domestic and European firearm manufacturers.

6.) I have testified in excess of 200 times before Federal Grand Juries regarding the
    classification, operability, and commerce of firearms and / or ammunition.

7.) I have previously qualified as an expert witness regarding the origin, operability /
    classification and interstate movement of firearms and ammunition in U.S. District
    Court for the District of Maryland, U.S. District Court for the District of Delaware
    and the Circuit Court For Baltimore City, Maryland.

8.) I have conducted regular training for local, state and federal law enforcement
    agencies both domestically and overseas regarding firearms classification,
    operability and firearms statutes.

9.) I maintain a personal library of books, printed material and documents that relate to
    the field of firearms, ammunition, and firearms classification, attend local and
    national trade shows and professional association meetings, and regularly review
    periodicals relating to firearms and ammunition.

10.) I attend trade shows, maintain contact with, and regularly consult with other
     persons, to include published authors and recognized experts in the origin,
     identification and classification of firearms and ammunition.




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11.) I have, during my tenure with ATF, personally examined in excess of five thousand
 Qualifications Of James E. Yurgealitis contd.

firearms to determine their origin and classification and operability, and to facilitate
the tracing of those firearms.

I have toured production facilities for numerous firearms and ammunition manufacturers. The
tours were conducted by corporate historians, corporate officers, or production engineering
personnel.

Domestic Firearm Manufacturers:
Bushmaster Firearms, Ilion, NY, USA
Colt, New Haven CT, USA (4x)
H&R 1871 Inc., Chicopee, MA, USA (2x)
Marlin, North Haven CT, USA (4x)
O.F. Mossberg & Sons, North Haven, CT, USA (4x)
Remington Firearms, Ilion, NY, USA
Savage Arms Inc., Westfield, MA, USA (4x)
Sig-Sauer / SIGARMS Inc., Exeter, NH, USA (3x)
Smith and Wesson, Springfield, MA, USA (4x)
Sturm Ruger, Newport, NH, USA (4x)
Yankee Hill Machining, Florence, MA, USA

Foreign Firearm Manufacturers:
Carl Walther GmbH, Ulm, Germany
Ceska Zbrojovka (CZ), Uhersky Brod, Czech Republic
Fegarmy (FEG), Budapest, Hungary
F.N Herstal S.A., Herstal, Belgium
Glock GmbH, Deutsch-Wagram, Austria
Heckler & Koch GmbH, Oberndorf au Neckar, Germany
J.P. Sauer & Sohn GmbH, Eckernforde, Germany

Domestic Ammunition Manufacturers:
Fiocchi Ammunition, Ozark, MO, USA
PMC, Boulder City, NV, USA
Remington, Lonoke, AR, USA (4x)
Sierra, Sedalia, MO, USA
Starline Brass, Sedalia, MO, USA

European Proof Houses
Beschussamt Ulm, (Ulm Proofhouse) Ulm, Germany
Beschusstelle Eckernforde, (Eckernforde Proofhouse) Eckernforde, Germany
Czech Republic Proofhouse, Uhersky Brod, Czech Republic
Liege Proofhouse, Liege, Belgium




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Qualifications Of James E. Yurgealitis contd.

I have been allowed regular access to the following reference collections:
Bureau of Alcohol, Tobacco Firearms and Explosives Reference Collection, Martinsburg, West
Virginia, USA consisting of 5,000+ firearms

Liege Proofhouse, Liege, Belgium consisting of 1,000+ ammunition cartridges

Springfield Armory National Historic Site Firearms Collection, Springfield, MA, USA
consisting of 10,000+ Firearms

Smithsonian Institution (Museum of American History) Firearms Reference Collection
Washington, DC, USA, consisting of 4000+ firearms

Wertechnische Studiensammlung des BWB, (Federal Defense Procurement Bureau Museum)
Koblenz, Germany consisting of 10,000+ Firearms

I have toured the following museums:
Heeresgeschichtliches Museum, (Museum of Military History), Vienna, Austria
Hungarian Military Museum, Budapest, Hungary
Springfield Armory National Historic Site, Springfield, MA, USA
United States Air Force Museum, Dayton, OH, USA
United States Army Ordnance Museum, Aberdeen Proving Ground, Aberdeen, MD, USA
United States Military Academy Museum, West Point, NY, USA
United States Naval Academy Museum, Annapolis, MD, USA
Wertechnische Studiensammlung des BWB, (Federal Defense Procurement Bureau Museum)
Koblenz, Germany

Membership in Professional Organizations:

Member, International Ammunition Association (IAA)
Technical Advisor (pending approval), Association of Firearm and Toolmark Examiners (AFTE)
Member, Federal Law Enforcement Officers Association (FLEOA)




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              James E. Yurgealitis: List of Criminal and Civil Cases Worked 2012 – 2022


 1. State of Maryland v. Smith, Linwood T, Circuit Court for Baltimore County, Maryland Case No.
    03-K-12-004002

 2. Freidman v. City of Highland Park, Illinois, United States District Court, District of Illinois, Case
    No. 1:13-cv-9073

 3. Wilson v. County of Cook, Illinois, Illinois Supreme Court, Case No. 2012 IL 112026

 4. Fyock v. The City of Sunnyvale, California, United States District Court, Northern District of
    California, Case No. 13-cv-05807 RMW

 5. Wrenn v. District of Columbia, United States District Court, District of Columbia, Civil Action
    Case No. 15-162 CKK

 6. Worman v. Healey, United States District Court for the District of Massachusetts, Case No. 1:17-
    cv-10107

 7. Buckeye Firearms v. City of Cincinnati, Hamilton County, Ohio Court of Common Pleas, Case
    No. A1803098

 8. Powell v. The State of Illinois, United States District Court for the Northern District of Illinois,
    Case No. 18-cv-6675

 9. Fletcher v. Century Arms, Circuit Court of the 15th Judicial District, in and for Palm Beach
    County, Florida, Case No. 502018CA009715

 10. Pullman Arms v. Healey, United States District Court for the District of Massachusetts, Case No.
     4:16-40136-TSH

 11. United States v. Richard Cooke, United States District Court for the Western District of New
     York, Case No. 17-CR-0038

 12. Long v. Gamo Outdoor U.S.A. Inc., District Court for Clark County, Nevada, Case No. A-16-
     748401-C




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                                              EXHIBIT “C”
                                    BIBLIOGRAPHY& FOOTNOTES
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Bartocci, Christopher R., The Black Rifle II, Collector Grade Publications Inc., Coburg, Ontario, Canada,
2004
Davies, Paul J., U.S. Guns of World War II, Thomas Publications, Gettysburg, PA, 2004
DiMaio, Vincent J.M., Gunshot Wounds, Second Edition, CRC Press, New York, NY, 1999
Ezell, Edward C.., Kalashnikov, The Arms and the Man, Collector Grade Publications, Coburg, Ontario,
Canada, 2001
Ezell, Edward C. & Stevens, Blake R., The Black Rifle, Collector Grade Publications, Coburg, Ontario,
Canada, 2004
Hogg, Ian V. & Weeks, John S., Military Small Arms of the 20th Century, 7th Edition, Krause Publications,
Iola, WI, 2000
Kersten, Mandfred and Schmid, Walter. Heckler and Koch, The Official History of the Oberndorf
Company of Heckler and Koch, Heckler and Koch GmbH, Oberndorf, Germany, 2001
Lewis, Jack, The Gun Digest Book of Assault Weapons, DBI Books, Northbrook, IL, 1986
Moyer, SGM Frank A., Special Forces Foreign Weapons Handbook, Citadel, NJ, 1983
Musgrave, Daniel D. & Nelson, Thomas B., The World’s Assault Rifles and Automatic Carbines, T.B.N.
Enterprises, Alexandria, VA, undated.
Poyer, Joe, The AK-47 and AK-74 Kalashnikov Rifles and Their Variations, North Cape Publications,
Tustin, CA, 2004
Poyer, Joe, The M16 / AR15 Rifle, A Shooter’s and Collector’s Guide, 2nd Edition, North Cape
Publications, Tustin, CA, 2003
Skennerton, Ian. British Small Arms of World War 2, Greenhill, London, UK, 1988
Supica, Jim, (Introduction), Guns, Taj Books, Cobham, Surrey, UK, 2005
Wilson, R.L., Colt an American Legend, Abbeville Publishing Group, New York, NY, 1985


Internet Resources not directly cited in Report:
U.S. Bureau of Alcohol, Tobacco, Firearms and Explosives website: www.atf.gov




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Footnotes:


   1. Supica, Jim, (Introduction), Guns, p. 28

   2. Ibid.

   3. Ibid

   4. Poyer, Joe, The AK-47 and AK-74 Kalashnikov Rifles and Their Variations, p.90

   5. DiMaio, Vincent J.M., Gunshot Wounds, pp. 54-55

   6. Ibid, p.56

   7. Bartocci, Christopher R., The Black Rifle II, p. 234




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